                                 Case: 1:23-cv-01470-CEF Doc #: 1-1 Filed: 07/27/23 1 of 3. PageID #: 28
                                                                   English

                                (/en)



Registration data lookup tool
Enter a domain name or an Internet number resource (IP Network or              Frequently Asked Questions (FAQ)
ASN)                                                                                                   (/en/faq)

 graymattergr.com                                                                                                               Lookup

By submitting any personal data, I acknowledge and agree that the personal data submitted by me will be
processed in accordance with the ICANN Privacy Policy (https://www.icann.org/privacy/policy), and agree to abide
by the website Terms of Service (https://www.icann.org/privacy/tos) and the registration data lookup tool Terms of
Use (unsafe:javascript:void(0)).


 The client was unable to process information from the Registrar RDAP server. The information below is shown as provided by the TLD Registry RDAP
 service.




 Domain Information

  Name: GRAYMATTERGR.COM

  Registry Domain ID: 2214600594_DOMAIN_COM-VRSN

  Domain Status:
  clientTransferProhibited (https://icann.org/epp#clientTransferProhibited)

  Nameservers:
  NS1017.UI-DNS.COM
  NS1026.UI-DNS.DE
  NS1058.UI-DNS.BIZ
  NS1075.UI-DNS.ORG
                              Case: 1:23-cv-01470-CEF Doc #: 1-1 Filed: 07/27/23 2 of 3. PageID #: 29
Dates
Registry Expiration: 2024-01-18 11:30:29 UTC

Updated: 2023-07-19 19:27:38 UTC

Created: 2018-01-18 11:30:29 UTC


Registrar Information

Name: IONOS SE

IANA ID: 83

Abuse contact email: abuse@ionos.com

Abuse contact phone: tel:+1.6105601459




DNSSEC Information

Delegation Signed: Unsigned




Authoritative Servers

Registry Server URL: https://rdap.verisign.com/com/v1/domain/graymattergr.com (https://rdap.verisign.com/com/v1/domain/graymattergr.com)

Last updated from Registry RDAP DB: 2023-07-24 09:08:16 UTC

Registrar Server URL: https://rdap.ionos.com/domain/GRAYMATTERGR.COM (https://rdap.ionos.com/domain/GRAYMATTERGR.COM)




Notices and Remarks
                                         Case: 1:23-cv-01470-CEF Doc #: 1-1 Filed: 07/27/23 3 of 3. PageID #: 30
     Notices:
     Terms of Use
     Service subject to Terms of Use.

     https://www.verisign.com/domain-names/registration-data-access-protocol/terms-service/index.xhtml (https://www.verisign.com/domain-names/registr
     ation-data-access-protocol/terms-service/index.xhtml)

     Status Codes
     For more information on domain status codes, please visit https://icann.org/epp
     https://icann.org/epp (https://icann.org/epp)

     RDDS Inaccuracy Complaint Form
     URL of the ICANN RDDS Inaccuracy Complaint Form: https://icann.org/wicf

     https://icann.org/wicf (https://icann.org/wicf)



                                                                                                                                                                
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